                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

 UNITED STATES OF AMERICA                      )
                                               )
 v.                                            )   NO. 3:22-cr-00078
                                               )   JUDGE RICHARDSON
 ROBIN SMITH                                   )




                                          ORDER

       Defendant’s Unopposed Motion to Set Change of Plea Hearing (Doc. No. 4) is granted.

The plea hearing is scheduled for March 8, 2022 at 4:30 p.m.

       IT IS SO ORDERED.



                                           ____________________________________
                                           ELI RICHARDSON
                                           UNITED STATES DISTRICT JUDGE




      Case 3:22-cr-00078 Document 7 Filed 03/07/22 Page 1 of 1 PageID #: 23
